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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

____________________________________
PACE-O-MATIC, INC.,                 :
                                    :
                     Plaintiff,     :
     v.                             :              Docket No. 1:20-cv-00292
                                    :
ECKERT SEAMANS CHERIN &             :
MELLOTT, LLC, MARK S. STEWART, :                   (Judge Jennifer P. Wilson)
KEVIN M. SKJOLDAL,                  :
                                    :
                     Defendants.    :
____________________________________:

                                   ORDER

      AND NOW, this ____
                     21st day of ___________________,
                                       July           2022, upon

consideration of the Joint Motion for Stay of Defendants, Eckert Semans Cherin &

Mellott, LLC, Mark S. Stewart and Kevin M. Skjoldal (“Eckert”), and Third-

Parties, Greenwood Gaming & Entertainment, Inc. d/b/a Parx Casino (“Parx”), and

Hawke McKeon & Sniscak LLP (“HMS”), it is hereby ORDERED that the Motion

is GRANTED. Pending disposition of the motions for reconsideration/certification

filed by Eckert, Parx and HMS, Eckert, Parx and HMS are not required to produce

the documents identified in Paragraph 2 of the Court’s July 5, 2022 Order.

                               BY THE COURT:



                               _____________________________________
                                s/Jennifer P. Wilson
                               Jennifer P. Wilson, U.S.D.J.
